     Case 4:22-cv-00550 Document 24 Filed on 01/19/23 in TXSD Page 1 of 1

                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

Sea Shipping Line, Inc.

v.                                           Case Number: 4:22−cv−00550

My Equipment, LLC




                               NOTICE OF RESETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN RESET
FOR THE PLACE, DATE AND TIME SET FORTH BELOW.




Before the Honorable
Lee H Rosenthal
PLACE:
by video
United States District Court
515 Rusk Ave
Houston, TX
DATE: 2/23/2023

TIME: 03:20 PM
TYPE OF PROCEEDING: Initial Conference


Date: January 19, 2023
                                                        Nathan Ochsner, Clerk
